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 PROPOSED COUNSEL FOR DEBTORS

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 IN RE:                                            §                CHAPTER 11
                                                   §
 NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-hdh11
 OF AMERICA and SEA GIRT LLC,                      §
                                                   §
           DEBTORS1                                §                Jointly Administered


                                         NOTICE OF HEARING

           PLEASE TAKE NOTICE that a hearing on Debtors’ Application for Entry of an Order

 Authorizing and Approving the Employment of Garman Turner Gordon LLP as Chapter 11 Co-

 Counsel for the Debtors [Docket No. 132] has been scheduled for Wednesday, February 24,

 2021 at 2:00 p.m. (Central Time) before the Honorable Harlin D. Hale, United States Bankruptcy

 Judge for the Northern District of Texas, 1100 Commerce Street, 14th Floor, Courtroom #3, Dallas,

 Texas 75242




 1
  The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
 Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


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           PLEASE TAKE FURTHUR NOTICE that the hearing will be conducted by

 videoconference and teleconference in Webex. The Webex hearing link will be posted to Judge

 Hale’s Hearing and Dates and Calendar web page prior to the hearing and may be accessed from

 the   following    link:    https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-hales-

 hearing-dates. Parties attending the hearing are requested to include their names on the Court’s

 electronic sign-in sheet located on Judge Hale’s web page under “Electronic Appearances” located

 at the link given above. Parties should also review, prior to the hearing, the Webex information

 attached hereto.

 Dated: February 11, 2021.
                                              Respectfully submitted,

                                              /s/ Patrick J. Neligan, Jr.
                                              Patrick J. Neligan, Jr.
                                              State Bar. No. 14866000
                                              Douglas J. Buncher
                                              State Bar No. 03342700
                                              John D. Gaither
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                                              PROPOSED COUNSEL FOR DEBTORS




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                                   CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on the 11th day of February 2021 a true and correct

 copy of the foregoing was served via first class U.S. mail on the parties named on the attached

 Master Service List.


                                                 /s/ John D. Gaither
                                                John D. Gaither




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                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
                                  OFFICE OF THE CLERK




                                              October 9, 2020

                                       CLERK’S NOTICE 20-04

            PARTICIPATING IN BANKRUPTCY COURT HEARINGS BY VIDEOCONFERENCE

 During the COVID-19 Pandemic, the Northern District of Texas Bankruptcy Court is conducting most of
 its hearings virtually, using WebEx video conferencing. There is no fee/charge of any kind for the
 participants, although you will have to download the WebEx application to your electronic device. The
 WebEx meeting link, meeting number, and access code will be posted on the judge’s webpage and/or on
 the ECF docket for the case. Please review the information below prior to participating in a hearing via
 WebEx.

  CONNECTION INSTRUCTIONS FOR PARTICIPATING IN A WEBEX VIRTUAL HEARING
 The court will allow participation in a virtual hearing using either of the following two methods. Please
 connect at least 10 minutes prior to the hearing time. It is recommended that attorneys discuss the logistics
 of the WebEx appearance with their clients/witnesses at least 48 hours before the hearing.

 Option 1: Using the WebEx app on your smartphone, tablet, laptop, or desktop.
 It is strongly preferred that participants who may speak during a hearing use the WebEx application rather
 than using the “call-in" option described in Option 2.
 Attorneys and/or witnesses who anticipate offering extensive testimony or legal argument or conducting
 examination are required to utilize the video function. The court may consider special requests for other
 appearance options on a case by case basis.
 Please connect using only one device. Using two or more devices may cause audio feedback issues.
 If using a phone or tablet for video, it should be set in a stationary position. Holding a phone or tablet in
 your hand while speaking does not yield a good video for the court.
 NOTE: If you are experiencing audio issues when using the WebEx application, you may use the “Call
 Me At” selection under “Audio Connection” to move just the audio portion of the WebEx conference to
 your telephone.


 Option 2: Call-in via phone (audio only).
 The meeting number/access code changes with each meeting and will be made available, along with the
 dial-in number on the WebEx link and instructions sheet found on the judge’s webpage and/or on the ECF
 docket for the case.
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                                      HELPFUL HINTS AND ETIQUETTE

•    Please use the mute function when you are not speaking. Please be aware that sometimes the court mutes
     everyone when there is background noise. When you want to speak, make sure you are not on mute. Call-
     in users should dial *6 to unmute your line.

•    Remember to state your name for the record each time before speaking and speak slowly and clearly so the
     court can get a good record.

•    Use headphones whenever possible, especially if using a desktop PC with external speakers. We have found
     that newer iPhones provide the best visual and audio feed – better than most desktop computers. If you are
     on a personal computer, headphones or earbuds are required for those who need to speak during the
     hearing.

•    During examination, attorneys and witnesses should use a separate camera and microphone when
     possible. To avoid feedback, parties using separate devices must not be in the same room. The court may
     consider special requests on a case by case basis.

•    WebEx participants may use the "share" button to easily share their screen or document with the court or
     other WebEx participants. Press “stop sharing” to remove the presentation from the meeting.

•    When making an appearance from a vehicle, please park in a safe location with windows rolled up (to
     minimize background distraction and noise) and use a headset that is ear-to-phone (not the vehicle’s hands-
     free speaker-phone option).

•    Suggestions for participating in a WebEx hearing from home: If you are having connectivity problems,
     turn off devices that may be using bandwidth on your home network. Devices or applications such as
     Facetime, Roku, streaming media players, video games, or large downloads can negatively impact the audio
     and video quality of the WebEx meeting.

•    Participants are reminded that they should wear attire suitable for court.

•    Participants who wish to test their WebEx connection or the share screen functionality in advance of the
     hearing may arrange a “practice run” by contacting the courtroom deputy.


                                   EXHIBITS AND DEMONSTRATIVE AIDS
     Exhibits should be filed ahead of time by the date that they would normally be exchanged pursuant to our
     local rules using the "notice" or "list (witness/exhibit/generic)" event in ECF. For voluminous exhibits,
     please contact the courtroom deputy, as it may be necessary for you to provide the court with an exhibit
     notebook or zip file in advance of the hearing.
     Demonstrative aids and Power Points should also be filed prior to the hearing, if possible. If not, WebEx
     has the ability to allow you to share your screen, or a particular document, with everyone in the hearing. If
     these documents are admitted as exhibits, they would then have to be filed after the hearing.
     During the hearing, lawyers can refer to (and offer) their exhibits by referencing the exhibit’s docket
     number for the court and all to access. After the hearing, the court will create a Minute Entry reflecting
     which exhibits were admitted. You should consider emailing exhibits to witnesses ahead of time since they
     may not have access to PACER.
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                           In re: Sea Girt LLC - Case No. 21-30080
               In re: National Rifle Association of America - Case No. 21-30085

                                   MASTER SERVICE LIST

                                    Debtor/Debtor’s Counsel


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  Sea Girt LLC
  11250 Waples Mall Road
  Fairfax, VA 22030

                                          U.S. Trustee

  Office of the United States Trustee
  Attn: Lisa Young
  Earle Cabell Federal Building
  1100 Commerce Street, Room 976
  Dallas, TX 75242

                                        Secured Creditors

  Atlantic Union Bank
  Attn: Andrew Kalin
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  Reston, VA 20191
  Email: andrew.kalin@atlanticunionbank.com




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                               20 Largest Unsecured Creditors

  Ackerman McQueen, Inc.                      Membership Marketing Partners LLC
  1601 Northwest Expressway                   11250 Waples Mill Road, Suite 310
  Oklahoma City, OK 73118-1438                Fairfax, VA 22030

  Gould Paper Corporation                     Infocision Management Corp.
  Attn: Warren Connor                         325 Springside Drive
  99 Park Avenue, 10th Floor                  Akron, OH 44333
  New York, NY 10016

  Under Wild Skies                            Valtim Incorporated
  c/o Dycio & Biggs                           P.O. Box 114
  10533 Main Street                           Forest, VA 24551
  Fairfax, VA 22030

  Quadgraphics                                Communications Corp of America
  N63W23075 Hwy. 74                           Attn: Ken Bentley
  Sussex, WI 53089                            13129 Airpark Drive, Suite 120
                                              Elkwood, VA 22718

  Membership Advisors Public REL              Salesforce.Com, Inc.
  11250 Waples Mill Road, Suite 310           One Mark St. – The Landmark, Suite 300
  Fairfax, VA 22030                           San Francisco, CA 94105

  Mercury Group                               Speedway Motorsports, Inc.
  1601 NW Expressway, Suite 1100              P.O. Box 600
  Oklahoma City, OK 73118                     Concord, NC 28026

  Image Direct Group LLC                      Google
  200 Monroe Avenue, Building 4               1600 Amphitheatre Parkway
  Frederick, MD 21701                         Mountain View, CA 94043-1351


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  TMA Direct, Inc.                               United Parcel Services
  12021 Sunset Hills Road, Suite 350             P.O. Box 7247-0244
  Manassas, VA 20109                             Philadelphia, PA 19170

  Membership Advisors Fund Raising               Stone River Gear, LLC
  11250 Waples Mill Road, Suite 310              P.O. Box 67
  Fairfax, VA 22030                              Bethel, CT 06801

  Krueger Associates, Inc.                       CDW Computer Centers, Inc.
  105 Commerce Drive                             P.O. Box 75723
  Aston, PA 19014                                Chicago, IL 60675

                                       Government Agencies


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  P.O. Box 7346                                  Attn: Letitia James
  Philadelphia, PA 19101-7346                    28 Liberty Street
                                                 New York, NY 10005

  Office of Attorney General (DC)                Office of Attorney General (TX)
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